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F|LED lN OPEN COUFtT

DATE: 5 '§ 0'§
UNITED STATES DISTRICT COURT

wESTERN DISTRICT oF TENNESSEE TlME: 43 '-F 4

Western Division lNl-HALS: M:

 

UNITED STATES OF AMERICA

-v- Case No. 2:05cr 20289-B

WILLIE E. TAYLOR

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Offlce, defense counsel

and the U.S. Attorney in writing of any change in address and telephone number.
(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed The defendant shall next appear for Sentencing in the United States Courthouse and
Federal Building in Courtroom #1 on Wednesday, November 16, at 9:00 am.

ADD|T|ONAL CONDlT|ONS OF RELEASE

ln order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Additional Conditions of Rclease

Secured Finaneial Conditions

0 Execute a lee-il bond vain-solvent-sare+iee in the amount of $5,000.00 unsecured.

. report as directed by the Pretrial Services Off`ice.

0 Report as directed by the Probation Office.

0 Maintain or actively seek employment

0 Abide by the following restrictions on personal association, place of abode, or travel: Defendant is restricted

in residence and travel to the Westem District of Tennessee without prior approval from Pre-trial Services.

Tth document entered on the docket sheet |n comp||anca

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AOtQQA Order$ell\ng Condltlons chelease With Rule 55 and/lof 32(b) FHCrP On g iq os- @

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l Refrain from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C. §
302, unless with prior written approval of the Pretrial Services Officer or as may be lawfully prescribed in
writing by a licensed medical practitioner.

0 Submit to any method of testing required by the Pretrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substance. Such methods may be used with random
frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system1 andjor any
form of prohibited substance screening or testing.

¢ Participate in a program of inpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Pretrial Services and pay a percentage of the fee as determined by Pretrial Services.

0 Other: Travel restricted to WD/TN and Jackson, MS and points in between for Court appearances

Do not open any new lines of credit.

 

 

 

ADV|CE OF PENALT|ES AND SANCT|ONS

TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment5 a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten ycars, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper With a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tamperingJ retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed
If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than 3250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen ycars, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A tenn of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

AO 199A Order Setlmg Conditlons of Release -2-

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ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that I am the defendant in this case and that l arn aware of the conditions of release l promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed l am aware

of the penalties and sanctions set forth above.
/fm@_- W@ a'--/`

Signature of Defendant

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City, State & Zip Code

 

 

 

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DlRECT|ONS TO THE UNITED STATES MARSHAL

The defendant is ORDERED released after processing

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or J udicial
Officer that the defendant has posted bond and!or complied with all other conditions for release. The defendant
shall be produced before the appropriate judicial officer a the e and place specified, if still in custody.

Date: AG‘\` [§,r)po\r
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. DANIEL BREEN
.S. DISTRICT JUDGE

AO 199A Order Setlmg Condilions of Re|ease '-3-

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CR-20289 Was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

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Honorable .l. Breen
US DISTRICT COURT

